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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,’ Case No. 08-13141 (KJC)
Debtors. (Jointly Administered)

Objections Due: May 5, 2009 at 4:00 p.m. (ET)
Hearing Date: To Be Determined

NOTICE OF INTERIM APPLICATION

TO: Co-counsel to the Debtors; the Office of the United States Trustee for the District of
Delaware; Linda K. Cooper, c/o Stuart Maue; Co-counsel to Barclays Bank PLC; Co-
counsel to the Administrative Agent for the Prepetition Lenders and all parties requesting
notice under Bankruptcy Rule 2002.

AlixPartners LLP, financial advisor to the Official Committee of Unsecured Creditors in
the above-captioned cases (the “Committee”), has filed the First Interim Fee Application of
AlixPartners LLP, Financial Advisor to the Official Committee of Unsecured Creditors, for
Compensation and Reimbursement of Expenses for the Period December 19, 2008 through
February 28, 2009 (the “Application”). The Application seeks fees in the amount of
$1,061,878.50 and expenses in the amount of $24,061.90 for the period December 19, 2008
through and including February 28, 2009.

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company (0355);
435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258), Califomia Community News
Corporation (5306); Candle Holdings Corporation (5626), Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc. (3844); Chicago Avenue
Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437); Chicago Tribune Newspapers, Inc. (0439);
Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579), Chicagoland Publishing Company (3237), Chicagoland
Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail Associates, Inc. (6121), Distribution Systems of America, Inc. (381 1);
Eagle New Media Investments, LLC (6661); Eagle Publishing Investments, LLC (6327), foresalebyowner.com corp. (0219), ForSaleByOwner.com
Referral Services, LLC (9205); Fortify Holdings Corporation (5628), Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505);
GreenCo., Inc. (7416), Heart & Crown Advertising, Inc. (9808); Homeowners Realty, Inc. (1507), Homestead Publishing Co. (4903), Hoy, LLC (8033);
Hoy Publications, LLC (2352); InsertCo, Inc. (2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company 1,
LLC; KJAH Inc. (4014), KPLR, Inc. (7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347) Los Angeles Times Communications LLC
(1324); Los Angeles Times International, Ltd. (6079), Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF,
LLC (0893); Neocomm, Inc. (7208); New Mass. Media, Inc. (9553), New River Center Maintenance Association, Inc. (5621); Newscom Services, Inc.
(4817); Newspapers Readers Agency, Inc. (7335); North Michigan Production Company (5466), North Orange Avenue Properties, Inc. (4056); Oak Brook
Productions, Inc. (2598); Orlando Sentinel Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of
Washington (4750); Sentinel Communications News Ventures, Inc. (2027); Shepard’s Inc. (7931); Signs of Distinction, Inc. (3603), Southern Connecticut
Newspapers, Inc. (1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684), The Baltimore Sun
Company (6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc. (1326);
TMLH2, Inc. (0720); TMLS J, Inc. (0719); TMS Entertainment Guides, Inc. (6325), Tower Distribution Company (9066); Towering T Music Publishing
Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting Holdco, LLC (2534); Tribune
Broadcasting News Network, Inc. (1088); Tribune California Properties, Inc. (1629), Tribune Direct Marketing, Inc. (1479), Tribune Entertainment
Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537), Tribune Finance Service Center, Inc. (7844);
Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279), Tribune Media Net, Inc. (7847);
Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York Newspaper Holdings, LLC (7278); Tribune NM,
Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune Television Holdings, Inc. (1630), Tribune Television New
Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc. (9512), Virginia Community Shoppers, LLC (4025), Virginia Gazette
Companies, LLC (9587); WATL, LLC (7384); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530);
WLVI Inc. (8074); WPIX, Inc. (0191); and WTXX Inc. (1268). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North
Michigan Avenue, Chicago, Illinois 60611.

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Objections, if any, to the relief requested in the Application must be filed with the United
States Bankruptcy Court, 824 N. Market Street, 3 Floor, Wilmington, Delaware 19801, on or
before May 5, 2009 at 4:00 p.m. (ET).

At the same time, you must also serve a copy of the objection upon the following parties
so as to be received no later than 4:00 p.m. (ET) on May 5, 2009:

(i) Co-counsel to the Debtors: Sidley Austin LLP, One South Dearborn, Chicago, IL
60603 (Attn: Kenneth P. Kansa, Esq.) and Cole, Schotz, Meisel, Forman & Leonard,
P.A., 1000 West Street, Suite 1200, Wilmington, DE 19801 (Attn: J. Kate Stickles;
Esq.); (ii) the Office of the United States Trustee, 844 N. King Street, Room 2207,
Lockbox 35, Wilmington, Delaware 19801 (Attn: Joseph J. McMahon, Jr., Esq.); (iii)
Linda K. Cooper c/o Stuart Maue, 3840 McKelvey Road, St. Louis, MO 63044; (iv) co-
counsel to the Barclays Bank PLC, in its capacity as Lender, Funding Agent, and
Administrative Agent: Edwards Angell Palmer & Dodge LLP, 919 N. Market Street,
Suite 1500, Wilmington, DE 19801 (Attn: Stuart M. Brown, Esq.) and Mayer Brown
LLP, 1675 Broadway, New York, NY 10019 (Attn: Frederick D. Hyman, Esq.); (v) co-
counsel to the Administrative Agent for the Prepetition Lenders: Richards, Layton &
Finder, P.A., 920 North King Street, Wilmington, DE 19801 (Attn: Mark D. Collins,
Esq.) and Davis Polk & Wardwell, 450 Lexington Avenue, New York, NY 10017 (Attn:
Donald S. Bernstein, Esq.); (vi) co-counsel to the Official Committee of Unsecured
Creditors: Landis Rath & Cobb LLP, 919 Market Street, Suite 1800, Wilmington,
Delaware 19801 (Attn: Adam G. Landis, Esq.) and Chadbourne & Parke LLP, 30
Rockefeller Plaza, New York, NY 10112 (Attn: David M. LeMay, Esq.) and (vii) Alan
D. Holtz, AlixPartners LLP, 9 West 57" Street, Suite 3420, New York, NY 10019.

A HEARING TO CONSIDER APPROVAL OF THE APPLICATION WILL BE HELD
BEFORE THE HONORABLE KEVIN J. CAREY, UNITED STATES BANKRUPTCY CHIEF
JUDGE, UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE,
824 N. MARKET STREET, 5’ FLOOR, COURTROOM NO. 5, WILMINGTON,
DELAWARE 19801 AT A DATE AND TIME TO BE DETERMINED BY THE COURT.

PLEASE TAKE NOTICE THAT IF NO TIMELY OBJECTIONS TO THE
APPLICATION ARE FILED, THE COURT MAY ENTER AN ORDER GRANTING THE
APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

Dated: April 15, 2009 LANDIS & COBB LLP

Wilmington, Delaware ‘ Via
Lg,

Afam G. Landis (No. 3407)
Matthew B. McGuire (No. 4366)
Mona A. Parikh (No. 4901)

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Co-counsel to the Official Committee
of Unsecured Creditors

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